Case 8:19-cv-01063-DOC-KES Document 18 Filed 08/22/19 Page 1 of 4 Page ID #:59



  1 TRINETTE G. KENT (State Bar No. 222020)
  2 3219 E Camelback Road, #588
    Phoenix, AZ 85018
  3 Telephone: (480) 247-9644
  4 Facsimile: (480) 717-4781
    E-mail: tkent@lemberglaw.com
  5
  6 Of Counsel to
    Lemberg Law, LLC
  7 43 Danbury Road
  8 Wilton, CT 06897
    Telephone: (203) 653-2250
  9 Facsimile: (203) 653-3424
 10
    Attorneys for Plaintiff,
 11 Jeff Buchanan
 12
 13                            UNITED STATES DISTRICT COURT
 14                           CENTRAL DISTRICT OF CALIFORNIA
 15                                 SANTA ANA DIVISION
 16
      Jeff Buchanan,                          Case No.: 8:19-cv-01063-DOC-KES
 17
                       Plaintiff,             NOTICE OF SETTLEMENT
 18
 19         vs.
 20
      Capital One Bank (USA) N.A.,
 21
 22                    Defendant.
 23
 24
 25
 26
 27
 28
      8:19-cv-01063-DOC-KES                                     NOTICE OF SETTLEMENT
Case 8:19-cv-01063-DOC-KES Document 18 Filed 08/22/19 Page 2 of 4 Page ID #:60



  1                              NOTICE OF SETTLEMENT
  2
             NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have
  3
  4 reached a settlement. The Plaintiff anticipates filing a Stipulation of Dismissal of this
  5 action with prejudice pursuant to Fed. R. Civ. P. 41(a) within 60 days.
  6
  7
  8                                             By: /s/ Trinette G. Kent
                                                Trinette G. Kent, Esq.
  9                                             Lemberg Law, LLC
 10                                             Attorney for Plaintiff, Jeff Buchanan
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                2
      8:19-cv-01063-DOC-KES                                             NOTICE OF SETTLEMENT
Case 8:19-cv-01063-DOC-KES Document 18 Filed 08/22/19 Page 3 of 4 Page ID #:61



  1                                  CERTIFICATE OF SERVICE
  2
             I, the undersigned, certify and declare that I am over the age of 18 years, and
  3
  4 not a party to the above-entitled cause. On August 22, 2019, I served a true copy of
  5 foregoing document(s): NOTICE OF SETTLEMENT.
  6
  7 BY ELECTRONIC FILING: I hereby                Attorney for Defendants Capital One
  8 certify that on August 22, 2019, a copy of Bank (USA) N.A.
    the foregoing document was filed
  9 electronically. Notice of this filing will be
 10 sent by operation of the Court's electronic
    filing system to all parties indicated on
 11 the electronic filing receipt. All other
 12 parties will be served by regular U.S.
    Mail. Parties may access this filing
 13 through the Court's electronic filing
 14 system.
 15
 16
             I am readily familiar with the firm's practice of collection and processing
 17
 18 correspondence for mailing. Under that practice it would be deposited with the U.S.
 19 Postal Service on that same day with postage thereon fully prepaid in the ordinary
 20
    course of business. I am aware that on motion of the party served, service is presumed
 21
 22 invalid if postal cancellation date or postage meter date is more than one day after the
 23 date of deposit for mailing in affidavit.
 24
          I hereby certify that I am employed in the office of a member of the Bar of this
 25
 26 Court at whose direction the service was made.
 27          Executed on August 22, 2019.
 28
                                                  3
      8:19-cv-01063-DOC-KES                                              NOTICE OF SETTLEMENT
Case 8:19-cv-01063-DOC-KES Document 18 Filed 08/22/19 Page 4 of 4 Page ID #:62



  1
  2                                        By: /s/ Trinette G. Kent
                                           Trinette G. Kent, Esq.
  3                                        Lemberg Law, LLC
  4                                        Attorney for Plaintiff, Jeff Buchanan

  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                           4
      8:19-cv-01063-DOC-KES                                      NOTICE OF SETTLEMENT
